
644 S.E.2d 1 (2007)
Christina M. BINNEY
v.
BANNER THERAPY PRODUCTS and Employment Security Commission of North Carolina.
No. 431A06.
Supreme Court of North Carolina.
March 8, 2007.
Sharon A. Johnston, Huntsville, AL, for Employment Security Commission.
*2 Edward L. Bleynat, Jr., Asheville, Susan L. Evans, for Binney.

ORDER
Upon consideration of the petition for discretionary review, filed by Respondent (ESC) on the 16th day of August 2006 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Accordingly, the new brief of the Respondent (ESC) shall be filed with this Court not more than 30 days from the date of certification of this order.
